 Case 1:17-cv-03147-JMS-TAB Document 8 Filed 10/24/17 Page 1 of 1 PageID #: 45




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 Randall Nevins,                     )
                                     )
             Plaintiff,              )
                                     )
       vs.                           ) Case No.:1:17-cv-3147-JMS-TAB
                                     )
 Wakefield & Associates, Inc.,       )
                                     )
             Defendant.              )
 ____________________________________)_________________________________________

                         ORDER OF DISMISSAL WITH PREJUDICE

          Pursuant to Plaintiff’s Motion to Dismiss with Prejudice filed by the Plaintiff in this

 cause, this cause is hereby dismissed with prejudice, and each party shall bear its own respective

 costs and expenses, including but not limited to attorneys’ fees, incurred in connection with this

 cause.




                     Date: 10/24/2017




ECF notification:

Copies to electronically registered counsel of record.
